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                                                                          6                               IN THE UNITED STATES DISTRICT COURT
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                                                                                                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                         10   JOHN LARSON,                                              No. C 11-03093 WHA
                                                                         11
United States District Court




                                                                                             Plaintiff,
                               For the Northern District of California




                                                                         12     v.                                                      PROCEDURAL
                                                                         13                                                             SCHEDULING
                                                                              UNITED STATES OF AMERICA,                                 ORDER
                                                                         14                  Defendant.
                                                                         15                                              /

                                                                         16          The above-captioned action was filed on June 23, 2011, and was reassigned to the
                                                                         17   undersigned judge on July 1. Pursuant to 26 U.S.C. 7429(b), the requested reasonableness and
                                                                         18   appropriateness determinations must be made within 20 days of commencement of the action.
                                                                         19   The deadline is July 13, 2011.
                                                                         20          Defendant may file a response to plaintiff’s complaint by NOON ON JULY 8, 2011.
                                                                         21   Plaintiff may not file any reply. A decision will be issued without oral argument unless
                                                                         22   otherwise stated.
                                                                         23          The clerk shall immediately serve a copy of this order on the United States Attorney
                                                                         24   for the Northern District of California.
                                                                         25
                                                                         26          IT IS SO ORDERED.
                                                                         27
                                                                         28   Dated: July 5, 2011.
                                                                                                                                 WILLIAM ALSUP
                                                                                                                                 UNITED STATES DISTRICT JUDGE
